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UN|TED STATES DlSTR|CT COURT
WESTERN DlSTR|CT OF TENNESSEE
EASTERN DlVISlON

UN|TED STATES OF AMER|CA

-v- 04-10038-02-T

 

ELTON NANCE
Jeff Mue||er CJA
Defense Attorney
1289 N. High|and Avenue
Jackson, TN 38301

 

 

JUDGMENT lN A CR|M|NAL CASE
{For Offenses Committed On or After November 1, 1987)

The defendant wasfound guilty on Count 86 ofthe Superceding indictment on February15,
2005. Accordingiy, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Cou nt
Title & section Nafweof._€lffirm concluded Number(s)
18 U.S.C. § 922(g) Convicted Felon in Possession of a 08/16/2003 86
Firearm Shipped in interstate
Commerce

The defendant is sentenced as provided in the following pages of this judgment The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/iandatory
Victims Restitution Act of 1996

lT iS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 07/09/1975 June 15, 2005
Deft’s U.S. iViarshai No.: 19652-076

Defendant’s l\/iailing Address:
503 BURROW STREET
HUMBOLDT, TN 38343

ibth

JAMESM ODD

CH|EF iTED STATES DlSTR|CT JUDGE
111¥3 document entered on the docket sheet ln compliance
with nme 55 andrew az(b) rach on 73 l v 05 J U ne`& 2005

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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 235 Months as to Count 86 of the Superceding
lndictment, to be served consecutively to the sentence previously imposed in regard
to Madison County Circuit Court #02-688.

The Court recommends to the Bureau of Prisons: institution where defendant can
receive drug treatment and counseling and an institution as close to defendants home as
possible

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES |ViARSl-lAL
By:

 

Deputy U.S. |\/iarshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to Count 86 of the Superceding indictment

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation oft"icer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training. or other acceptable reasons;

5. The defendant shall notify the probation officer ten{10) days prior to any change in residence or
employment
6. The defendant shaii refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ofncer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributedl or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement oft”icer;

‘it. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
andfor alcohol abuse as directed by the U. S. Probation Officer. until such time as defendant
is released from the program by the U. S. Probation Officer..

2. The defendant shall assist the U. S. Probation Oftice in the collection of DNA as directed by
that office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|i of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Tota| Restitution

$100.00

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The Speciai Assessment shall be due immediately
FlNE
No fine imposed.

RESTITUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 116 in
case 1:04-CR-10038 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

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LAW OFFICES OF JEFF MUELLER
P.O. Box 3146

Jackson7 TN 38303

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable .1 ames Tcdd
US DISTRICT COURT

